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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


ARTHUR CARSON                                                                         PLAINTIFF

V.                                 CASE NO. 4:18-cv-275-SWW

STEVE LANDERS KIA,
AND RUSSELL COMSTOCK,                                                              DEFENDANT


                  MOTION TO DISMISS FOR INSUFFICIENT PROCESS
                      & INSUFFICIENT SERVICE OF PROCESS.


       Comes know LL University LLC d/b/a Steve Landers Kia, by and through its attorneys,

James, Carter & Priebe, LLP, and for its Motion, states:

       1.       The Separate Defendant, LL University LLC d/b/a Steve Landers Kia moves to

dismiss the Complaint, pursuant to Fed. R. Civ. 12(b)(4), insufficient process, and Fed. R. Civ.

12(b)(5), insufficient service of process.

       2.       Plaintiff’s summons was addressed to Steve Landers Kia, 4600 S. University

Ave., Little Rock, Arkansas. See Ex. 1, Summons.

       3.       Steve Landers Kia is the fictitious name for LL University LLC. See Ex. 2.

       4.       The Registered Agent for LL University LLC is The Corporation Company, 124

West Capitol Ave., Suite 1900, Little Rock, Arkansas, 72201. See Ex. 2.

       5.       Process was not addressed to the registered agent, an officer, or managing or

general agent of LL University LLC.

       6.       Service was not made in person or by certified mail on the registered agent, an

officer, or managing or general agent of LL University LLC.
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       WHEREFORE, the Separate Defendant, LL University LLC d/b/a Steve Landers Kia

prays that its Motion to Dismiss be granted, and for all other just and proper relief.


                                              Respectfully submitted,

                                              /s/ Daniel R. Carter
                                              Daniel R. Carter (AR Bar # 80023)
                                              JAMES, CARTER & PRIEBE, LLP
                                              500 Broadway, Suite 400
                                              Little Rock, Arkansas 72201
                                              Tel 501.372.1414; Fax 501.372.1659
                                              E-mail: dcarter@jamescarterlaw.com

                                              Attorney for LL University LLC
                                              d/b/a Steve Landers Kia



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which shall send notification of such filing to the following:

       Arthur Carson
       artcarson67@gmail.com

and via U.S. Postal Service, postage prepaid to:

       Arthur Carson
       2000 Rice Street
       Little Rock AR 72202
       Tel 501.508.1090


                                              /s/ Daniel R. Carter
                                              Daniel R. Carter
